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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 MANLIKA ZHONG, individually,

         Plaintiff,

 v.
                                                      CIVIL CASE NO.:
 JAMBU ATCHISON, individually and in his
 capacity as vice president of THAI BADASS
 INC., PHATTARIYAWADEE WONGCHANOI,
 individually and in her capacity as president of
 THAI BADASS, INC., and THAI BADASS,
 INC., a Florida profit corporation,

        Defendants.
 ____________________________________                 /


                                          COMPLAINT

         Plaintiff, MANLIKA ZHONG (“ZHONG” or “Plaintiff”), by and through the undersigned

 counsel, sues Defendants, JAMBU ATCHISON, individually and as vice president of THAI

 BADASS, INC. (“ATCHINSON”), PHATTARIYAWADEE WONGCHANOI, individually and

 as president of THAI BADASS, INC. (“WONGCHANOI”), and THAI BADASS INC., a Florida

 profit corporation (“THAI BADASS”) (collectively, the “Defendants”) and in furtherance thereof

 respectfully states as follows:

             JURISDICTIONAL FACTS AND IDENTIFICATION OF PARTIES

        1.      This Complaint if filed pursuant to the Fair Labor Standard Act, 29 U.S.C. § 201 et

 seq. to recover unpaid minimum wages, unpaid overtime compensation, liquidated damages,

 attorney’s fees and costs, and for unpaid wages and compensation under Florida law.

        2.      Jurisdiction is proper in the United Stated District Court for the Southern District

 of Florida as the claims are brought pursuant to the Fair Labor Standards Act, as amended



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 (“FLSA”). 29 U.S.C. § 201 et seq. Jurisdiction is founded upon § 216(b) of the FLSA and the

 Southern District of Florida has original jurisdiction over Plaintiff’s FLSA claims pursuant to 28

 U.S.C. §1391.       In Count III, Plaintiff seeks the Southern District of Florida to exercise

 supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) for her unpaid wage claim under Florida

 law.

         3.      The causes of action herein arose in Broward County, Florida. Venue is proper in

 the Southern District of Florida pursuant to 28 U.S.C. § 1391(b).

         4.      Plaintiff ZHONG is an individual residing in Broward County, Florida and has been

 so at all times relevant to the causes of action herein, that is, between May 1, 2018 and July 26,

 2018.

         5.      ZHONG was an hourly-wage, non-exempt employee of the Defendants during the

 relevant time period.

         6.      ATCHISON is an individual residing in Broward County, Florida and has been so

 at all times relevant to the cause of action.

         7.      WONGCHANOI is an individual residing in Broward County, Florida and has been

 so at all times relevant to the cause of action.

         8.      THAI BADASS is Florida profit company with its principal place of business

 located at 2119 Hollywood Blvd, Suite C, Hollywood, FL 33021 1. THAI BADASS was engaged

 in running a Thai restaurant of which Plaintiff was an employee for a period of time.

         9.      THAI BADASS employed Plaintiff and it directly controlled and supervised

 employees, determined pay rates, hired, fired, and modified schedules. Business and personnel




 1
          2119 Hollywood Blvd, Suite C, Hollywood, FL 33020 is the place of business for a Thai restaurant also
 previously and currently owned by Thai Deli, LLC.

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 policies, payroll, procedures and decisions regarding employees for the business were promulgated

 by THAI BADASS. As such, THAI BADASS is subject to the requirements of the FLSA.

        10.     ATCHISON and WONGCHANOI are individuals who are subject to the

 requirements of the FLSA as they dictated the terms and conditions of Plaintiff’s employment. At

 all times relevant hereto, WONCHANOI owned and operated THAI BADASS and ATCHISON

 and WONGCHANOI regularly exercised their authority as vice president and president to hire and

 fire employees, determine work schedules for employees, direct and control employees and control

 the finances and operations of the business. By virtue of having regularly exercised that authority

 on behalf of THAI BADASS, ATCHISON and WONGCHANOI are employers as that term is

 defined by 29 U.S.C. § 201, et. seq.

        11.     Plaintiff was an employee as that term is defined by 29 U.S.C. § 203(e)(1),

 performing the duties of “Cook”, “Chef”, and “Manager”. Defendants were Plaintiff’s employer

 as that term is defined by 29 U.S.C. § 203(d) and Defendants employed Counter-Defendant within

 the meaning of 29 U.S.C. § 203(g).

        12.     All conditions precedent to this cause of action have been fully performed or

 otherwise waived.

                       FACTS GIVING RISE TO THE CAUSE OF ACTION

        14.     In April and May 2018, Plaintiff and Defendants discussed the potential sale of the

 business operating as Thai Thai Deli and owned by Plaintiff through her business, Thai Deli, LLC

 (the “Restaurant”).

        15.     On May 16, 2018, THAI BADASS was incorporated with the State of Florida.

        16.     On May 17, 2018, ATCHISON, WONGCHANOI, and ZHONG executed a

 Purchase and Sale Agreement whereby ATCHISON and WONGCHANOI purchased the



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 “business assets, including all equipment, fixtures, goodwill, inventory, trademarks, trade names

 and leasehold rights, known as Thai Thai Deli and located at: 2199 Hollywood Blvd Ste C,

 Hollywood, FL 33020 (“Purchase Agreement”).          A true and correct copy of the Purchase

 Agreement dated May 17, 2018 is attached hereto and incorporated herein as Exhibit “A”.

        17.        Starting on May 1, 2018, ZHONG began working for the Defendants at the

 Restaurant and continued to be employed by Defendants until July 26, 2018. ZHONG bought

 food and supplies for the Restaurant, was the primary cook/chef, and managed the operations of

 the Restaurant.

        18.        ZHONG was a non-exempt hourly employee of Defendants and worked six days

 each week from 9 a.m. until 9 p.m. (the Restaurant was closed on Sundays). As such, during the

 relevant period of employment, from May 1, 2018 until July 26, 2018, ZHONG worked twenty-

 seven (27) days in May 2018, twenty-six (26) days in June 2018, and twenty-two (22) days in July

 2018 for a total amount of days worked of seventy-five (75) at twelve (12) hours each day. As

 such, Plaintiff worked for Defendants for a total amount of hours of nine-hundred (900), five-

 hundred and twenty (520) as regular hours and three-hundred and eighty (380) as over-time hours

 (hours worked over and above forty (40) hours per week). The full breakdown of the hours works

 is as follows:

        5/1/18 – 5/6/18 = 60 total; 40 regular, 20 overtime

        5/7/18 – 5/12/18 = 72 total; 40 regular, 32 overtime

        5/14/18 – 5/19/18 = 72 total; 40 regular, 32 overtime

        5/21/18 – 5/26/18 = 72 total; 40 regular, 32 overtime

        5/28/18 – 6/2/18 = 72 total; 40 regular, 32 overtime

        6/4/18 – 6/9/18 = 72 total; 40 regular, 32 overtime



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           6/11/18 – 6/16/18 = 72 total; 40 regular, 32 overtime

           6/18/18 – 6/23/18 = 72 total; 40 regular, 32 overtime

           6/25/18 – 6/30/18 = 72 total; 40 regular, 32 overtime

           7/2/18 – 7/7/18 = 72 total; 40 regular, 32 overtime

           7/9/18 – 7/14/18 = 72 total; 40 regular, 32 overtime

           7/16/18 – 7/21/18 = 72 total; 40 regular, 32 overtime

           7/23/18 – 7/26/18 = 72 total; 40 regular, 32 overtime

           19.    To date, Plaintiff has not been paid for any of the hours she worked for Defendants.

           20.    Defendants failed to comply with 29 U.S.C. §§ 201-209, et. seq., because Plaintiff

 performed services for Defendants for which no provisions were made by Defendants to pay

 Plaintiff the appropriate minimum wages or for those hours worked in excess of forty (40) hours

 within a work week.

           21.    Upon information and belief, to the extent any exist, any record reflecting the

 number of hours worked and amounts paid to Plaintiff during the relevant employment period is

 in the possession and custody of Defendants.

           22.    Plaintiff has retained the services of the undersigned counsel who are entitled to

 payment of their legal fees and costs incurred as the attorney for the prevailing party in this action.

                              COUNT I – FLSA Minimum Wage Claim

           ZHONG re-alleges and reaffirms paragraphs 1-22 as set forth above as though set forth

 herein.

           23.    This is a cause of action by Plaintiff against all Defendants for unpaid minimum

 wages under the FLSA.

           24.    Plaintiff is entitled to a minimum wage for all hours worked pursuant to the FLSA.



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           25.    During her employment with Defendants, Plaintiff worked for Defendants and was

 not paid a minimum wage for numerous hours during one or more work weeks.

           26.    By reasons of the intentional, willful and unlawful acts of Defendants in violation

 of the FLSA, Plaintiff has suffered damages.

           27.    As a result of Defendants’ willful violation of the FLSA, Plaintiff is entitled to

 liquidated damages.

           WHEREFORE, Plaintiff respectfully requests this Court award damages to her in the

 amount of unpaid minimum wages owed to her, awarding liquidated damages pursuant to 29

 U.S.C. § 216(b), awarding reasonable attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b),

 and awarding all such other relief as the Court deems just and appropriate.

                                COUNT II – FLSA Unpaid Overtime

           ZHONG re-alleges and reaffirms paragraphs 1-22 as set forth above as though set forth

 herein.

           28.    This is a cause of action by Plaintiff against all Defendants for unpaid overtime

 compensation under the FLSA.

           29.    Plaintiff is entitled to be paid time and one-half her regular rate of pay for each hour

 worked in excess of forty (40) hours per week.

           30.    During her employment with Defendants, Plaintiff worked overtime hours but was

 not paid time and one-half compensation for same.

           31.    Defendants’ failure to pay Plaintiff overtime compensation for the hours she

 worked over forty (40) in one or more work weeks constitutes a violation of the FLSA.

           32.    As a result of Defendants’ willful violation of the FLSA, Plaintiff is entitled to

 liquidated damages.



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           WHEREFORE, Plaintiff respectfully requests this Court award damages to her in the

 amount of unpaid overtime compensation owed to her, awarding liquidated damages pursuant to

 29 U.S.C. § 216(b), awarding reasonable attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b),

 and awarding all such other relief as the Court deems just and appropriate.

                       COUNT III – Unpaid Wages pursuant to Florida Law

           ZHONG re-alleges and reaffirms paragraphs 1-22 as set forth above as though set forth

 herein.

           33.    This is a cause of action by Plaintiff against all Defendants for unpaid wages. The

 Plaintiff seeks supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) once the action is

 removed to the Southern District of Florida.

           34.    Plaintiff is entitled to be paid in full for the entire time she was employed by

 Defendants. As such, Plaintiff has suffered a loss of wages for the hours she worked without pay.

           35.    Plaintiff has retained the undersigned attorneys and are entitled to payment of their

 legal fees and costs incurred as the attorney for the prevailing party in this action.

           36.    Plaintiff is entitled to reasonable attorneys’ fees pursuant to Florida Statute

 §448.08.

           WHEREFORE, Plaintiff demands judgment against Defendants for unpaid wages due to

 her, interest thereon, attorneys’ fees and costs, and all such other relief as the Court deems just and

 appropriate.




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                                     JURY TRIAL DEMAND

       Plaintiff demands trial by jury of all issues triable to a jury in this action.

 Dated: December 4, 2018

                                               Respectfully submitted,

                                               By: /s/ Karen E. Berger
                                               KAREN E. BERGER
                                               FBN: 72991
                                               INTERNATIONAL LAW PARTNERS LLP
                                               Attorney for Plaintiff
                                               2122 Hollywood Blvd.
                                               Hollywood, FL 33020
                                               Phone: 954-374-7722
                                               Fax: 954-212-0170
                                               Email: kberger@ilp.law




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